Case: 1:08-cr-00746 Document #: 1024 Filed: 09/25/11 Page 1 of 18 PageID #:4280
Case: 1:08-cr-00746 Document #: 1024 Filed: 09/25/11 Page 2 of 18 PageID #:4281
Case: 1:08-cr-00746 Document #: 1024 Filed: 09/25/11 Page 3 of 18 PageID #:4282
Case: 1:08-cr-00746 Document #: 1024 Filed: 09/25/11 Page 4 of 18 PageID #:4283
Case: 1:08-cr-00746 Document #: 1024 Filed: 09/25/11 Page 5 of 18 PageID #:4284
Case: 1:08-cr-00746 Document #: 1024 Filed: 09/25/11 Page 6 of 18 PageID #:4285
Case: 1:08-cr-00746 Document #: 1024 Filed: 09/25/11 Page 7 of 18 PageID #:4286
Case: 1:08-cr-00746 Document #: 1024 Filed: 09/25/11 Page 8 of 18 PageID #:4287
Case: 1:08-cr-00746 Document #: 1024 Filed: 09/25/11 Page 9 of 18 PageID #:4288
Case: 1:08-cr-00746 Document #: 1024 Filed: 09/25/11 Page 10 of 18 PageID #:4289
Case: 1:08-cr-00746 Document #: 1024 Filed: 09/25/11 Page 11 of 18 PageID #:4290
Case: 1:08-cr-00746 Document #: 1024 Filed: 09/25/11 Page 12 of 18 PageID #:4291
Case: 1:08-cr-00746 Document #: 1024 Filed: 09/25/11 Page 13 of 18 PageID #:4292
Case: 1:08-cr-00746 Document #: 1024 Filed: 09/25/11 Page 14 of 18 PageID #:4293
Case: 1:08-cr-00746 Document #: 1024 Filed: 09/25/11 Page 15 of 18 PageID #:4294
Case: 1:08-cr-00746 Document #: 1024 Filed: 09/25/11 Page 16 of 18 PageID #:4295
Case: 1:08-cr-00746 Document #: 1024 Filed: 09/25/11 Page 17 of 18 PageID #:4296
Case: 1:08-cr-00746 Document #: 1024 Filed: 09/25/11 Page 18 of 18 PageID #:4297
